   Case 1:07-cr-00302-KD-C Document 123 Filed 10/01/12 Page 1 of 3                              PageID #: 441
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                              #9312


                UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                         V.                               (For Revocation of Probation or Supervised Release)
                 DEXTER LAW

                                                          CASE NUMBER: 1:07-00302-002
                                                          USM NUMBER: 10032-003

THE DEFENDANT:                                                           Cindy Powell
                                                           Defendant's Attorney


()      admitted guilt to violation of supervision condition(s):
(x)     was found in violation of supervision condition(s):        Special and Mandatory
                                                                                    Date violation
Violation Number                                  Nature of Violation               Occurred

Special Condition                                 Technical
Mandatory Condition                               New Offense                               9/8/2012

       The defendant is sentenced as provided in pages 2 through 3              of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.


()     The defendant has not violated condition(s)                    and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

                                                               September 27, 2012
Defendant's Mailing Address:                                  Date of Imposition of Judgment
 306 Thompson Avenue
 Thomasville, AL 36784

                                                               s/Kristi K. DuBose
                                                              UNITED STATES DISTRICT JUDGE


                                                               October 1, 2012
                                                              Date
   Case 1:07-cr-00302-KD-C Document 123 Filed 10/01/12 Page 2 of 3                          PageID #: 442
                                                                                               Judgment 2
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment
Defendant: DEXTER LAW
Case Number: 1:07-00302-002
                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWENTY-FOUR (24) MONTHS.




()      The court makes the following recommendations to the Bureau of Prisons:




(X) The defendant is remanded to the custody of the United States Marshal.
( ) The defendant shall surrender to the United States Marshal for this district:
  ( ) at       .m. on     .
  ( ) as notified by the United States Marshal.
()      The defendant shall surrender for service of sentence at the institution designated by the Bureau
        of Prisons:
  ( ) before 2 p.m. on         .
  ( ) as notified by the United States Marshal.
  ( ) as notified by the Probation or Pretrial Services Office.
                                                    RETURN
I have executed this judgment as follows:




Defendant delivered on                                                                                      to
   at

with a certified copy of this judgment.
                                                            UNITED STATES MARSHAL


                                                           By:
                                                                      Deputy U.S. Marshal
     Case 1:07-cr-00302-KD-C Document 123 Filed 10/01/12 Page 3 of 3                             PageID #: 443
                                                                                                    Judgment 3
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: DEXTER LAW
Case Number: 1:07-00302-002
                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of No
supervised release term to follow.

Special Conditions: If this defendant originally received probation please remember to include all
criminal monetary penalties with this judgment.

        For offenses committed on or after September 13, 1994:        The defendant shall refrain
        from any unlawful use of a controlled substance. The defendant shall submit to one drug
        test within 15 days of release from imprisonment and at least two periodic drug tests
        thereafter, as directed by the probation officer.
        ()      The above drug testing condition is suspended based on the court=s determination that the
                defendant poses a low risk of future substance abuse. (Check, if applicable)

()      The defendant shall register with the state sex offender registration agency in the state where the
        defendant resides, works, or is a student, as directed by the probation officer. (Check, if
        applicable)

()      The defendant shall participate in an approved program for domestic violence. (Check, if
        applicable)

()      The defendant shall not possess a firearm, destructive device, or any other dangerous
        weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution that remains unpaid at the commencement of the term
of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to
which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by
this court (Probation Form 7A).
The defendant shall also comply with the additional conditions on the attached page (if
applicable).


                                  See Page 4 for the
                       "STANDARD CONDITIONS OF SUPERVISION"
